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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                               Case No. 20-25022-CIV-WILLIAMS

  GHADA OUIESS,

          Plaintiff,

  vs.

  MOHAMMED BIN SALMAN
  BIN ABDULAZIZ AL SAUD, et al.

       Defendants.
  ____________________________________________/

                       ORDER RECUSING JUDGE AND REASSIGNING CASE

        The undersigned District Judge, to whom the above-styled case has been
  assigned, recuses herself and refers the case to the Clerk of Court for reassignment
  pursuant to 28 U.S.C. § 455.

          DONE AND ORDERED in Chambers in Miami, Florida, this 5th day of January,
  2020.




         In accordance with the Local Rules for the Southern District of Florida, providing
  for the random and equal allotment of cases, this cause is hereby reassigned to the
  calendar of United States District Judge K. Michael Moore                  .


        All documents for filing in this case shall carry the following case number and
  designation: 20-cv-25022-Moore/Louis          .

                                  5 day of January, 2021.
          By Order of Court this ___


                                                 ANGELA E. NOBLE
                                                 Court Administrator/Clerk of Court


                                           By:    s/Valerie Kemp
                                                 Deputy Clerk
